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Attorneys for Defendant
Stonebridge Benefit Services, Inc,


                        IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO



BARBARA A. SPENCER                               Case No.

                                 Plaintiff,
                                                 DEFENDANT’S NOTICE OF
vs.                                              REMOVAL OF CASE FROM THE
                                                 DISTRICT COURT OF THE
CAPITAL ONE BANK, CAPITAL ONE                    FOURTH JUDICIAL DISTRICT
SERVICES, INC., and STONEBRIDGE                  OF THE STATE OF IDAHO, IN
BENEFIT SERVICES, INC.                           AND FOR THE COUNTY OF ADA

                                Defendants.


TO:        TO THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO;
           PLAINTIFF BARBARA A. SPENCER., AND HER ATTORNEYS OF RECORD
           HEREIN:

           Defendant, Stonebridge Benefit Services, Inc., pursuant to 28 U.S.C. §§ 1441 and

1446(a), respectfully files this Notice of Removal of this action from the District Court of the

Fourth Judicial District of the State of Idaho, in and for the County of Ada, in which it is now

pending, to the United States District Court for the District of Idaho. In support of such removal,




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Defendant Stonebridge Benefit Services, Inc., by its undersigned attorneys, respectfully states

and alleges:

           1.      Stonebridge Benefit Services, Inc., has been named as a defendant in the civil

action brought in the District Court of the Fourth Judicial District of the State of Idaho, in and for

the County of Ada, captioned Barbara A. Spencer v. Capital One Bank, Capital One Services,

Inc. and Stonebridge Benefit Services, Inc., (the “Action”). True and correct copies of the

Summons and Complaint and Demand for Jury Trial are attached hereto as Exhibit “A.” Also,

filed with the State Court is Defendant Stonebridge Benefit Services, Inc.’s Notice of

Appearance, a copy of which is attached hereto as Exhibit “B.”

           2.      On April 23, 2007, the Plaintiff filed her First Amended Complaint and Demand

for Jury Trial Pursuant to I.R.C.P. 38(b). Attached hereto as Exhibit “C” is a true and correct

copy of the Plaintiff’s First Amended Complaint and Demand for Jury Trial Pursuant to I.R.C.P.

38(b).

           3.      On April 23, 2007, the Plaintiff filed her Objection to Assignment to Magistrate

Division and the Affidavit of Wade L. Woodward wherein she claims that the amount at issue

exceeds $100,000. A true and correct copy of those pleadings are attached hereto as Exhibit “D”

and incorporated herein by reference.

           4.      Barbara A. Spencer v. Capital One Bank, Capital One Services, Inc. and

Stonebridge Benefit Services, Inc., is a civil action in which Plaintiff seeks to recover against

Defendants for declaratory relief, breach of contract, breach of the covenant of good faith and

fair dealing, bad faith, negligence, fraud, constructive fraud, intentional infliction of emotional

distress, negligent infliction of emotional distress, intentional interference with contract, punitive

damages and attorneys fees. Other than the Complaint, Amended Complaint, the Notice of



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Appearance, Objection to Assignment to Magistrate Division, and the Affidavit of Wade L.

Woodard, no other significant pleadings have been served on the Defendant.

           5.      On April 24, 2007, Plaintiff’s attorney forwarded a settlement proposal requesting

to settle this matter for $125,000. A true and correct copy of that e-mail is attached hereto as

Exhibit “E” and incorporated herein by reference.

           6.      That Plaintiff Barbara A. Spencer is, and at all relevant times has been, a resident

of Ada County, Idaho.

           7.      That Defendant Stonebridge Benefit Services, Inc. is a Delaware corporation with

its principle place of business in Plano, Texas. For the purposes of removal and pursuant to 28

U.S.C. § 1332(c) the Defendant is not a citizen of the state of Idaho.

           8.      The matter in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs in that Plaintiff seek to recovers, among other things, damages for declaratory

relief, breach of contract, breach of the covenant of good faith and fair dealing, bad faith,

negligence, fraud, constructive fraud, intentional infliction of emotional distress, negligent

infliction of emotional distress, intentional interference with contract, punitive damages and

attorneys fees in excess of $75,000.

           9.      Pursuant to 28 U.S.C. § 1332(a), the federal district courts have jurisdiction of

any civil action where the matter in controversy exceeds the sum or value of $75,000, exclusive

of interest and costs, and is between citizens of different states.

           10.     Defendant Stonebridge Benefit Services, Inc. first received a copy of the

Summons and Complaint through service on March 30, 2007. This Notice is timely filed as

required by 28 U.S.C. § 1446(b), because it is filed within 30 days after Defendant’s receipt of a

copy of the Summons and Complaint.



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           11.   Upon information and belief, the Defendants Capital One Bank and Capital One

Services, Inc. were served with a copy of the Summons and Complaint on April 2, 2007, but as

of this date Capital One Bank and Capital One Services, Inc. have not filed an Answer or any

other pleadings in response to the Complaint. Thus, pursuant to 28 U.S.C. § 1446(a), those

Defendants have not joined in the removal because they have not appeared in the Action. See

Fee v. Wal-Mart Stores, Inc., 2006 WL 3149366 (D. Nev. 2006).

           12.   No hearing has been set by the state court regarding any matter in this action, and

Defendant Stonebridge Benefit Services, Inc., has taken no action in the state court proceeding

except to file a Notice of Appearance.

           13.   In accordance with the requirements of 28 U.S.C. § 1446(a) and Local Rule 81.1,

Defendant is attaching hereto as Exhibit “F” a copy of the complete state court docket sheet as of

the time of removal. Other than the Docket Sheet, Complaint, Summons, Notice of Appearance,

First Amended Complaint and Demand for Jury Trial, Objection to Assignment to Magistrate

Division, and the Affidavit of Wade L. Woodard in Support of Objection to Assignment to

Magistrate Division, no other significant pleadings have been filed in the state court action.

(There are Affidavits of Service, Summons to the other Defendants, and a Notice of

Reassignment in the file; however, the file was not available for the Defendant to copy said

documents prior to filing for removal).

           14.   Defendant reserves all defenses, including, but not necessarily limited to, those

under Rule 12(b) of the Federal Rules of Civil Procedure and does not waive said defenses by

the filing of this Notice.




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           15.    Pursuant to 28 U.S.C. § 1446, the state court action which was commenced in the

Fourth Judicial District of the State of Idaho, in and for the County of Ada, may be removed to

the United States District Court for the District of Idaho.

           16.    Proper notice will be given this date to the Plaintiff herein, by and through her

counsel of record, and to the Clerk of the District Court of the Fourth Judicial District of the

State of Idaho, in and for the County of Ada; a true and correct copy of the Notice is attached

hereto as Exhibit “G,” and incorporated herein by reference.

           WHEREFORE, Defendant Stonebridge Benefit Services, Inc. prays that the above-

entitled action pending against it in the District Court of the Fourth Judicial District of the State

of Idaho, in and for the County of Ada, be removed to this Court.

           DATED this 27th day of April, 2007.

                                                 EBERLE, BERLIN, KADING, TURNBOW,
                                                 MCKLVEEN & JONES, CHARTERED


                                                 By      /S/
                                                      Stanley J. Tharp
                                                      Attorneys for Defendant Stonebridge Benefit
                                                      Services, Inc.




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                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the above and foregoing document
was served upon the following attorney this 27th day of April, 2007, as indicated below and
addressed as follows:


           Jon T. Simmons                        U.S. Mail
           Wade L. Woodard                       Hand Delivery
           GREENER BANDUCCI SHOEMAKER            Overnight Mail
           950 W. Bannock Street, Suite 900      Fax ( 208 ) 319-2601
           Boise, ID 83702



                                                /S/
                                               STANLEY J. THARP




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